UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA.
TAMPA DIVISION
THOMAS J. NESTOR,
Plaintiff,
Vv. CASE NO. 8:20-cv-265-CEH-TGW

VPC3 II, LLP, N.E. APARTMENTS
ASSOCIATES, INC., and JACK DAY

Defendants.
/

ORDER
THIS CAUSE came on for consideration upon the Defendants’
Verified Supplemental Motion on Amount of Attorneys’ Fees (Doc. 59). In
opposition, the plaintiff has filed the affidavit of attorney Kennan George
Dandar (Doc. 62). The defendants filed a reply in opposition to the affidavit
of Mr. Dandar (Doc. 63). Having considered the materials submitted and the
governing legal standards, the defendants’ motion is granted, however, only
to the extent that the defendants be awarded $58,083.75 in attorneys’ fees.
I.
This matter arises out of the negotiations the plaintiff, Thomas
Nestor, had with the defendants, VPC3 II, LLP (“VPC3 II”) and N.E.

Apartments Associations, Inc. (“N.E. Apartments”) (collectively “the
defendants”) in May 2012 regarding the purchase of the historic YMCA
property in St. Petersburg, Florida (Doc. 12, p. 3, P1). VPC3 II acted as the
seller and N.E. Apartments acted as the intervenor in the sale (id., pp. 3, 7,
PP1, 30).

The plaintiff alleged that VPC3 II attempted to impermissibly
terminate the Purchase and Sale Agreement, executed by the parties, and,
thus, on March 23, 2014, he sued VPC3 II for breach of contract in the
Circuit Court for the Sixth Judicial Circuit of Florida (id., p. 6, P22). Judge
Jack Day (“Judge Day”), the other defendant in this matter, was assigned to
the case (id., P24). After several months of litigating, the plaintiff and the
defendants entered into a Settlement Agreement on June 26, 2014, which
reinstated the Purchase and Sale Agreement (id., pp. 6-7, PP29-30). On July
23, 2014, the defendants filed Emergency Motions to Enforce Settlement
Agreement, where they claimed that the plaintiff breached the agreement by
failing to pay the proper amount at closing and for impermissibly assigning
the Purchase and Sale Agreement (id., p. 16, PP109-11). On September 4,
2014, Judge Day held a thirty-minute hearing on the matter and, thereafter,

issued a non-final order wherein he found that the plaintiff had materially
breached both the Purchase and Sale Agreement and the Settlement
Agreement (id., pp. 16, 19-20, PpP112—-13, 145-46). Accordingly, he
terminated the plaintiff's rights under the Purchase and Sale Agreement (id.,
pp. 19-20, 146).

The plaintiff appealed his case to the Second District Court of
Appeal of Florida (id., p. 14, P88). The court, in a per curiam opinion,
affirmed Judge Day’s decision (id., p. 15, 100). Judge Day entered a final
order on June 10, 2015 (id., P95). The plaintiff moved for review by the
Florida Supreme Court, which was denied in February 2016 (id., p. 16, P106—
07). A master dismissal order of the case was entered on March 8, 2017 (id.,
108).

On February 3, 2020, the plaintiff filed a complaint against the
defendants (Doc. 1). Thereafter, on June 2, 2020, the plaintiff filed an
amended complaint, in which he added Judge Day as a defendant (Doc. 6).
However, that motion was dismissed sua sponte as a shotgun pleading by
United States District Judge Charlene Edwards Honeywell (see Doc. 11).
Then, on September 14, 2020, the plaintiff filed a second amended complaint

against all of the listed defendants, which sought “federal relief for civil
rights violations where the Plaintiff was deprived of his Fourteenth
Amendment due process rights” (Doc. 12, p.2). The second amended
complaint is comprised of five counts, four of which are attributable only to
Judge Day. There is a single claim of unjust enrichment against the corporate
defendants (Count III) (id., pp. 20, 21, 22).

On April 5, 2021, the plaintiff filed an Unopposed Amended
Motion for Dismissal of Claims (Doc. 40) against the corporate defendants
only. Judge Honeywell granted the plaintiff's motion and his claim against
those defendants was dismissed with prejudice (see Doc. 41). Judge Day
filed a Motion to Dismiss the Second Amended Complaint (Doc. 19), which
Judge Honeywell granted on April 6, 2021 (see Doc. 45).

On April 20, 2021, the defendants filed a Motion for Attorneys’
Fees (Doc. 42), to which the plaintiff filed a vacuous response in opposition
(Doc. 43). I held a hearing on the matter (Doc. 52). Subsequently, I issued
an order granting the defendant’s motion for attorney’s fees as to entitlement
only (see Doc. 58). In concluding my order, I directed that the defendants
file attorney time records, justification for the hourly rates requested, and an

itemized statement of costs, if any, within 30 days of my order, unless the
parties agreed to fees and costs (id., p. 13). Additionally, the plaintiff was
directed that he was permitted to file a response within 30 days of the
defendants’ supplemental filing. Specifically, the plaintiff was directed that
his response, if any, may

take the approach of either considering each item
individually or discounting the hours with an
across-the-board reduction on some justifiable .
basis. If the plaintiff takes the approach of
disputing specific hours, the plaintiff must file a
statement within thirty (30) days of the
defendants’ filing of supporting documentation
that states the objectionable hours, the reason(s)
for the objection, and identify a reasonable time
for that work. If the plaintiff objects to an hourly
rate, the plaintiff must identify the rate, state the
rate that they contend should apply, and explain
the basis for that rate. The plaintiff may file an
expert affidavit supporting the claimed time or
rates. Additionally, the plaintiff must identify any
cost as to which they object to reimbursement and
specify the reason(s) for that objection. All time
entries, rates, or costs not specifically objected to
with a cogent explanation are subject to being
' granted.

(id., pp. 13-14).
Lastly, the defendants were permitted the ability to file a reply within 21

days of the plaintiffs response (id., p. 14).
The defendants filed the present Verified Supplemental Motion
on Amount of Attorneys’ Fees (Doc. 59). In that motion, they request $79,
470.00 in attorneys’ fees (id., pp. 2, 7). They have not made a request for
costs. In response, the plaintiff filed the affidavit of attorney Kennan George
Dandar (“Mr. Dandar’’) (Doc. 62). The defendants filed a reply in opposition
to the affidavit of Mr. Dandar (Doc. 63).

Il.

The defendants, as the prevailing party, are entitled to recover
their reasonable attorneys’ fees under the terms of the Settlement Agreement
(see Doc. 58). Thus, the only matter remaining for determination is the
amount of a reasonable attorneys’ fees to be awarded.

“Principles governing Florida contract law apply to the —

interpretation and enforcement of settlement agreements.” Conte v. Winn

Dixie Stores, Inc., 2017 WL 4693072 at *2 (N.D. Fla. 2014); see also

Resnick v. Uccello Immobilien GMBH, Inc., 227 F.3d 1347, 1350 (11th Cir.

2000). The Settlement Agreement indicates that Florida law shall govern
(Doc. 42-1, p. 10)'. As the defendants correctly state, the federal lodestar
approach is recognized as the foundation for setting reasonable fee awards
(see Doc. 59, p. 2). Florida courts have adopted the federal lodestar approach

in determining a reasonable attorneys’ fee. See Florida Patient’s

Compensation Fund v. Rowe, 472 So.2d 1145 1150-52 (Fla. 1985); Bell v.

U.S.B. Acquisition Co., Inc., 734 So.2d 403, 406 (Fla. 1999). This method
requires the court to determine a “lodestar figure” by multiplying a
reasonable hourly rate for the services of the prevailing party’s attorneys by

the number of hours reasonably expended on the litigation. Norman v. The

Housing Authority of the City of Montgomery, 836 F.2d 1292, 1299 (11th

Cir. 1988). The fee applicant bears the burden of presenting satisfactory
evidence to establish that the requested rate is in accord with the prevailing

market rate and that the hours are reasonable. Id. at 1299, 1303.

'- Thus, the Settlement Agreement states:
Choice of Law and Venue.
This Settlement Agreement shall be governed by the laws
of the State of Florida. With respect to any legal proceeding
relating to this Settlement Agreement, each Party hereto
consents to the jurisdiction of the Circuit Court of the Sixth
Judicial Circuit in and for Pinellas County, Florida.

(Doc. 42-1, p. 10) (emphasis added).

Once the lodestar is determined, the court must then consider
whether an adjustment of the lodestar for the results obtained is appropriate.

See Perdue v. Kenny A. ex. rel. Winn, 559 U.S. 542, 552 (2010). Hours that

are “redundant, excessive, or otherwise unnecessary” are not to be included

in the determination of hours reasonably expended. See Perez v. Carey

International, Inc., 373 Fed. Appx. 907, 911 (11th Cir. 2010) (internal

citations omitted).

A. Hourly Rates.

The court must determine a reasonable hourly rate for the
services of the defendants’ attorneys. “A reasonable hourly rate is the
prevailing market rate in the relevant legal community for similar services
by lawyers of reasonably comparable skills, experience, and reputation.”

Norman v. The Housing Authority of the City of Montgomery, supra, 836

F.2d at 1299. The defendants, the fee applicants in this matter, bear the
burden of providing “the court with specific and detailed evidence from
which the court can determine [a] reasonable hourly rate.” Id. at 1303.
Evidence of prevailing rates for comparable services can be adduced either

through direct evidence of charges by lawyers under similar circumstances
or by opinion. Id. Further, “[t]he court . . . is itself an expert on the question
[of attorneys’ fees] and may consider its own knowledge and experience
concerning reasonable and proper fees.” Id. at 1303 (internal citation
omitted).

In this matter, the defendants were represented by attorneys
Alice R. Huneycutt, John N. Muratides, and Nicole Neugebauer (Doc. 59, p.
2). All three attorneys are with the law firm Stearns Weaver Miller Weissler
Alhadeff & Sitterson, P.A. (“Stearns Weaver”) (id., pp. 2-3). Ms. Huneycutt,
the undersigned attorney on the motion, is lead counsel in this matter and
was assisted by Mr. Muratides and Ms. Neugebauer (id., p. 3). Ms.
Huneycutt has practiced litigation in Florida for 42 years and Mr. Muratides
has practiced litigation in Florida for 39 years (id., pp. 2, 3). Defense counsel
states that “(their standard hourly billing rates are $550.00; however [they]
agreed to work on th[e] case at a reduced hourly rate of $375.00” (id., p. 3).
Ms. Neugebauer has been admitted to practice in Florida since November
2020 (id.). Ms. Neugebauer’s hourly rate is $250.00 (id.). Finally, Ms. Lynn
Derenthal, a paralegal with Stearns Weaver, worked on this matter. The

defendants request an hourly rate of $225.00 for Ms. Derenthal’s work (id.,
p. 5). Notably, no information has been provided regarding Ms. Derenthal’s
legal experience (id.).

As indicated, the plaintiff filed an affidavit by attorney Kennan
George Dandar in opposition to the defendants’ motion. Mr. Dandar states
that he has been licensed in Florida since 1979 and is “familiar with
attorney’s fees awarded to counsel in the State of Florida” (Doc. 62, p. 1).
Mr. Dandar does not provide any information regarding his area of expertise,
if any, and whether he still practices law in Florida. In his affidavit, Mr.
Dandar only addresses the hourly rate of Ms. Huneycutt (id.). However, Mr.
Dandar does not contest the reasonableness of Ms. Huneycutt’s hourly rate
(id.).? Thus, it is presumed that the plaintiff does not oppose the
reasonableness of defense counsel’s hourly rates.

Taking into consideration counsel’s experience, the prevailing
market rates in the area, and the lack of opposition from the plaintiff, I

conclude that the requested rates for the attorneys are reasonable. See

Norman v. The Housing Authority of the City of Montgomery, supra, 836

* Thus, Mr. Dandar states, “[t]he hourly rate of $350 to $375 for Alice R. Huneycutt is
reasonable” (Doc. 62, p. 1).

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F.2d at 1303 (providing that the court itself is an expert in determining
prevailing market rates). Accordingly, Ms. Huneycutt and Mr. Muratides
shall be awarded an hourly rate of $375.00, and Ms. Neugebauer shall be
awarded an hourly rate of $250.00. However, the requested hourly rate of
$225.00 for Ms. Derenthal is too high. As indicated, no information has been
provided regarding Ms. Derenthal’s legal experience. Further, a large part of
the billing records by Ms. Derenthal indicates that the work performed

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involved “compiling documents,” “prepar[ing] documents,” and “adding
citations,” which constitutes paralegal work (Doc. 59, p.13). Paralegal work
may not be charged against an opposing party at attorney rates and, notably,

Ms. Derenthal’s rate is only $25.00 less than Ms, Neugebauer’s. See Allen

v. U.S. Steel Corp., 665 F.2d 689, 697 (Sth Cir. 1982); see also Omnipol,

A.S. v. Worrell, 8:19-CV-794-VMC-TGW, 2021 WL 1842212 at *5 (M.D.

Fla. Mar. 23, 2021), report and recommendation adopted, 8:19-CV-794-

VMC-TGW, 2021 WL 1840513 (M.D. Fla. May 7, 2021). Accordingly,
based on my review of the relevant authorities and my own experience, an
hourly rate of $100.00 for Ms. Derenthal is reasonable.

B. Reasonableness of the Number of Hours Expended.

1]
The second half of the lodestar determination requires the court
to calculate the number of hours reasonably expended on the litigation.
Accordingly, the court “still must determine whether time was reasonably
expended, and if it was not, that time should be excluded from the fee

calculation.” Perez v. Carey International, Inc., supra, 373 Fed. Appx. at 911.

It is the fee applicant’s burden to adequately document the number of hours

expended on a given case. Hensley v. Eckerhart, 461 U.S. 424, 437 (1983).

Thus, “[the fee applicant] should have maintained records to show the time
spent on the different claims, and the general subject matter of the time
expenditures ought to be set out with sufficient particularity so that the

district court can assess the time claimed for each activity.” Norman v. The

Housing Authority of the City of Montgomery, supra, 836 F.2d at 1303. The

applicant bears the burden of supplying such evidence to the court for its
review. Id.

Defense counsel states that they worked numerous hours on this
matter. Thus, Ms. Huneycutt performed 130.80 hours of legal services, Mr.
Muratides performed 42.20 hours of legal services, Ms. Neugebauer

performed 43.80 hours of legal services, and Ms. Derenthal performed 16.20

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hours of legal services (Doc. 62, p. 5). In sum, the defendants’ motion seeks
compensation for 233 hours of legal work performed (id.). Defense counsel
states that these hours were spent on all facets of the litigation, including
drafting of the pleadings and various motions, extensive legal analysis, case
management and communication, and post-judgment proceedings (id., pp.
5—6). Additionally, defense counsel has submitted their contemporaneously-
recorded billing records, which they aver are “true and correct copies” of the
services performed in connection with this matter (see id., pp. 11-24). The
defendants have not submitted an expert affidavit supporting the
reasonableness of their fees and the requested sum.

As indicated, the plaintiff did not file a response in opposition
to the defendants’ motion; rather, he filed the affidavit of Mr. Dandar. In his
affidavit, Mr. Dandar asserts various claims regarding the reasonableness of
the number of hours spent by defense counsel.

Mr. Dandar first asserts that “[o]nly one attorney is reasonable
to represent the Defendants in this matter, not four” (Doc. 62, p. 1). This
assertion is properly discounted as “[t]here is nothing inherently

unreasonable about a client having multiple attorneys, and they all may be

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compensated if they are not unreasonably doing the same work and are being

compensated for the distinct contribution of each lawyer.” Norman v. The

Housing Authority of the City of Montgomery, supra, 836 F.2d at 1302.

Thus, the fee applicant has the burden to show. that the time spent by those
attorneys reflects the distinct contribution of each lawyer to the case.

American Civil Liberties Union of Georgia v. Barnes, 168 F.3d 423, 437

(11th Cir. 1999). The defendants have met their burden. Defense counsel has ~
provided detailed billing records, which show the work done by- each
attorney and paralegal (see Doc. 62 pp. 11-24). These records show the
distinct contribution of each attorney and paralegal in this matter. Compare

Comercio Y Servicios De Transporte Privado PBA S.A. De C.V. v. RDI,

LLC, 8:17-CV-1038-TGW, 2020 WL 364784 at *5 (M.D. Fla. Jan: 22,
2020).

Additionally, Mr. Dandar provides what he purports to be a
reasonable number of hours spent on various tasks, such as the motion to
dismiss, in this matter. He also, cryptically, states a total number of hours
that, Ms. Huneycutt only, should have spent on the entirety of the case. Thus,

he states (Doc. 62, pp. 1-2):

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C. 100.700 hours for a Motion to Dismiss in .
this case is unreasonable; At the most, the
reasonable hours should be 4 to 7 hours.

D. 60.50 hours to research and file a Rule 11
motion is outrageous. | to 3 hours maximum is
reasonable.

E. Reasonable fee for motion for entitlement to
attorney fees and attending a hearing is 3 to 4
hours, not 58.20 hours.

F. Reasonable time for all communication
with opposing counsel on the matters expressed
would be no more than 2 hours.

5. It is therefore my considered opinion based
on all factors to consider that a reasonable hours
incurred by Alice R. Huneycutt is 10 to 16 hours
at $350 to $375 per hour.

Notably, in the defendants’ reply, they correctly assert that Mr. .
Dandar’s affidavit does not comply with my previous order (Doc. 63, pp. 2—
4). For instance, Mr. Dandar states, in a conclusory manner, that “[a]t the
most, the reasonable hours [on a motion to dismiss] should be 4 to 7 hours,”
which is significantly less than the 100.70 hours requested by defendants
(Doc. 62, p. 1). While Mr. Dandar’s affidavit provides what he perceives to
be a “reasonable time” for the various tasks, he gives no cogent “reasons for
the objection,” in direct contravention of my order (see Doc. 58, pp: 13-14).

Moreover, there is no indication as to whether Mr. Dandar practices in this

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area of the law, or even if he currently practices law in Florida (see Doc. 62).
Thus, Mr. Dandar’s affidavit does not qualify as “an expert affidavit
supporting the claimed time or rates” permitted by my order (Doc. 58, p. 14).
Even if he were an expert, Mr. Dandar’s conclusory and arbitrary statements
regarding the reasonableness of the fees is clearly insufficient. Norman v.

The Housing Authority of the City of Montgomery, supra, 836 F.2d at 1259

(noting that “[g]eneralized statements that the time spent was .
unreasonable ... are not... entitled to much weight” and “[a]s the district
court must be reasonably precise in excluding hours thought to be
unreasonable or unnecessary, so should the objections and proof from fee
opponents.”).

. Further, the defendants correctly assert that, in my order, I
stated that “[al]ll time entries, rates, or costs not specifically objected to with
a cogent explanation are subject to being granted” (Doc. 58, p. 14). Thus, the
defendants aver that their request for attorneys’ fees is due to be granted.
However, the plaintiff's failure to persuasively argue that the defense
counsel’s billing records contain excessive time entries does not mean that

the defendants’ request is automatically granted. See Ottaviano v. Nautilus

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Ins. Co., 717 F. Supp. 2d 1259, 1268 (M.D. Fla. 2010) (citing Norman v.

The Housing Authority of the City of Montgomery, supra, 836 F.2d at 1259).

Importantly, the defendants’ motion is also deficient.

In defense counsel’s time records, provided as part of the
defendants’ motion, many of the entries are a form of impermissible block
billing. Thus, on multiple occasions, an attorney will list multiple tasks in a
single entry and, moreover, the entry itself is for a noticeably large period of
time. For instance, Ms. Huneycutt made the following submissions, with the
corresponding hours spent on the task noted in bold font (Doc. 62, pp. 12,
13, 15-16):

2/21/21: ARH: Review lower court pleadings;
analyze initial brief, answer brief and reply brief
for references to res judicata argument; telephone
conference with N. Neugebauer regarding outline
of arguments for motion to dismiss; evaluate
supplemental jurisdiction argument; e-mail
correspondence to client regarding status of
federal case; draft procedural history of case for
motion to dismiss;

7.10 hours

_ 2/22/21: ARH: Telephone conference with P.
Powell and C. Carver regarding status of federal
suit and arguments for motion to dismiss; various
conferences with N. Neugebauer regarding legal

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arguments and research; preparation of motion to
dismiss; telephone conference with L. Derenthal
regarding separation of requests for judicial notice
of lower state and appellate court filing; review
docket sheet of four pending state court cases;
preparation of request to judicial notice;

7.50 hours

4/19/21: ARH: Continue preparation of motion for
determination of entitlement to attorneys’ fees;
telephone conferences with J. Muratides regarding
analysis of dismissal under Rule 41 and status of

research of federal entitlement to fees;
8.30 hours

Further, due to the block billing, the number of hours spent on
the motion to dismiss on the day it was filed is perplexing. Thus, the motion
to dismiss was filed on February 24, 2021, at 10:21 p.m. (see Doc. 33). On
that date, there are three entries that reflect work performed on the motion to
dismiss; however, those entries add up to a total of 24.4 hours performed on
February 24, 2021, alone (Doc. 59, p. 13):

2/24/21: JNM: Review and revise motion to

dismiss; revise request for judicial notice; evaluate

cases supporting motion to dismiss;

12 hours

2/24/21: LRD: Continue preparing request for

judicial notice and compiling documents for filing;
prepare documents for filing as attachments;

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continue adding citations to the motion to dismiss;
4.00 hours

2/24/21: NAN: Revise motion to dismiss and

prepare exhibits;

8.40 hours
Clearly, it is unlikely that this amount of time was spent on the motion to
dismiss in a single day. Notably, the entries include work on both the motion
to dismiss and the request for judicial notice. The court could deduce that
more time was spent on the motion to dismiss. Thus, the motion to dismiss
was a 25-page document involving substantive analysis (see Doc. 33), while
the request for judicial notice was merely a 6-page document requesting the
district court to take judicial notice of numerous documents filed by the
parties in the state court proceeding, which were attached to the filing as
exhibits (see Doc. 32). However, because the entries by Mr. Muratides and
Ms. Derenthal combine the tasks of work performed on the motion to dismiss

and the request for judicial notice into a single entry, it is impossible to

decipher what amount of time was put towards each task. American Civil

Liberties Union of Georgia v. Barnes, supra, 168 F.3d at 432 (noting that

“[t]he imprecision of the billing records submitted by the plaintiff] makes it

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difficult, if not impossible, to calculate with any precision the number of
hours an attorney devoted to a particular task in this litigation.”).

Moreover, seasoned attorneys like Ms. Huneycutt and Mr.
Muratides should not spend excessive hours on tasks such as a motion to

dismiss based on the Rooker-Feldman doctrine and a motion for entitlement

to attorneys’ fees. Scherer v. JPMorgan Chase Bank, N.A., 6:21-CV-119-

RBD-GJK, 2022 WL 2785201 at *4 (M.D. Fla. May 23, 2022), report and

recommendation adopted, 6:21-CV-119-RBD-GJK, 2022 WL 2785200

(M.D. Fla. June 10, 2022) (“the legal issues [such as] the Rooker-Feldman
doctrine [] as argued and decided in the Motions to Dismiss are simple and

straightforward matters that do not require extensive research nor long years

of experience for effective presentation”); Omnipol, A.S. v. Worrell, supra,
2021 WL 1842212 at *5 (noting that the amount of time spent on a fee
entitlement matter was excessive).

Importantly, the Supreme Court has cautioned that a “request

for attorney’s fees should not result in a second major litigation.” Hensley v.

Eckerhart, 461 U.S. 424, 431 (1983); see also Illoominate Media, Inc. v.

CAIR Fla., Inc., 22-10718, 2022 WL 4589357 at *5 (11th Cir. Sept. 30,

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2022) (citing Hensley v. Eckerhart, supra, 461 U.S. at 431). Thus, “courts

may take into account their overall sense of a suit, and may use estimates in
calculating and allocating an attorney’s time.” Fox v. Vice, 563 U.S. 826,
838 (2011). “When a district court finds the number of hours claimed is
unreasonably high, the court has two choices: it may conduct an hour-by-
hour analysis or it may reduce the requested hours with an across-the-board

cut.” Bivins v. Wrap It Up, Inc., 548 F.3d 1348, 1350 (11th Cir. 2008).

Although each time entry has been reviewed, in this matter a general across-

the-board reduction in the number of hours is appropriate. See Ceres

Environmental Services, Inc. v. Colonel McCrary Trucking, LLC, 476 Fed.
Appx. 198, 203 (11th Cir. 2012) (“Courts [particularly] have . . . approved
across-the-board reductions in block-billed hours to offset the effects of
block billing.”).

Thus, the defendants have included an excessive number of
hours in their attorneys’ fees request, while the plaintiff has not provided any
reasonable basis for reducing the amount of hours requested. Based on my
review, it appears the requested hours are overstated by about 25%.

Accordingly, the fees will be calculated as follows:

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Claimant Hours 25% reduction rate
Ms. Honeycutt 130.80 130.80 x 0.25 = 32.7
130.80 — 32.7 = 98.1 hours
98.1 x $375.00 = $36,787.50
Mr. Muratides 42.20 42.20 x 0.25 = 10.55
42.20 — 10.55 = 31.65 hours
31.65 x $375.00 = $11,868.75
Ms. Neugebauer | 43.80 43.80 x 0.25 = 10.95
43.80 — 10.95 = 32.85 hours
32.85 x $250.00 = $8,212.50
Ms. Derenthal 16.20 16.20 x 0.25 = 4.05

16.20 — 4.05 = 12.15 hours
12.15 x $100.00 = $1,215.00

Total: $36,787.50 + $11,868.75 +
$8,212.50 + $1,215.00 = $58,083.75

It is, therefore, upon consideration,

ORDERED:

That the Defendants’ Verified Supplemental Motion on

Amount of Attorneys’ Fees (Doc. 59) be, and the same is hereby,

GRANTED, only to the extent that the defendants are awarded $58,083.75

in attorneys’ fees.

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DONE and ORDERED at Tampa, Florida, this 2 oS hay of

December, 2022.

THOMAS G. WILSON
UNITED STATES MAGISTRATE JUDGE

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